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                                           5                               IN THE UNITED STATES DISTRICT COURT
                                           6                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                           8   IN RE: TFT-LCD (FLAT PANEL) ANTITRUST                  No. M 07-1827 SI
                                               LITIGATION                                             MDL No. 1827
                                           9                                       /
                                                                                                      No. C 09-5840 SI
                                          10   This Order Relates To:
                                                                                                      ORDER GRANTING DEFENDANTS’
For the Northern District of California




                                          11   MOTOROLA, INC.,                                        MOTION TO CERTIFY UNDER 28 U.S.C.
    United States District Court




                                                                                                      § 1292(b) - MOTOROLA
                                          12                  Plaintiff,
                                                 v.
                                          13
                                               AU OPTRONICS CORPORATION, et al.,
                                          14
                                                              Defendants.
                                          15                                                     /

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                                                      Defendants have filed a motion to certify an interlocutory appeal of this Court’s March 28, 2011,
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                                               order finding that it has subject matter jurisdiction over Motorola’s “foreign-purchase” antitrust
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                                               claims.1 The Court finds this matter suitable for disposition without oral argument and therefore
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                                               VACATES the hearing currently scheduled for May 27, 2011. Having considered the moving papers
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                                               and the arguments presented, the Court hereby GRANTS defendants’ motion.
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                                                      Certification of an interlocutory appeal is appropriate where an “order involves a controlling
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                                               question of law as to which there is substantial ground for difference of opinion and . . . immediate
                                          23
                                               appeal from the order may materially advance the ultimate termination of the litigation.” 28 U.S.C. §
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                                               1292(b). In this case, the jurisdictional question is “controlling” because it will have a significant
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                                               impact on the scope of Motorola’s claims in this case. See In re Cement Antitrust Litig., 673 F.2d 1020,
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                                                      The facts of this matter are set out in detail in this Court’s March 28, 2011, order denying
                                          28   defendants’ motion to dismiss Motorola’s second amended complaint.
                                           1   1026 (9th Cir. 1982) (stating that a question is controlling when “resolution of the issue on appeal could
                                           2   materially affect the outcome of litigation in the district court”). Further, there is “substantial ground
                                           3   for difference of opinion” on the proper resolution of the jurisdictional question. The question presented
                                           4   here – whether the negotiation within the United States of a contract setting a global, super-competitive
                                           5   price can satisfy the domestic-injury exception to the FTAIA’s jurisdictional bar – was one of first
                                           6   impression. In concluding that the domestic-injury exception applied, this Court distinguished a related
                                           7   line of cases rejecting the “arbitrage” theory of jurisdiction. See In re Dynamic Random Access Memory
                                           8   (DRAM) Antitrust Litig., 546 F.3d 981 (9th Cir. 2008); In re Monosodium Glutamate Antitrust Litig.,
                                           9   477 F.3d 535 (8th Cir. 2007); Empagran S.A.v. F. Hoffman-La Roche, Ltd., 417 F.3d 1267 (D.C. Cir.
                                          10   2005); see also Sun Microsystems Inc. v. Hynix Semiconductor Inc., 534 F. Supp. 2d 1101 (N.D. Cal.
For the Northern District of California




                                          11   2007). While the allegations in this case are materially different from those in the “arbitrage” cases, the
    United States District Court




                                          12   Court believes the novelty of the issue merits appellate review. Finally, immediate appeal will
                                          13   “materially advance the ultimate termination of the litigation” by more clearly establishing the scope
                                          14   of the issues at trial, including the defendants’ ultimate liability.
                                          15           Given the novelty of the issue and the significant impact its resolution will have on this case, the
                                          16   Court finds that certification of an interlocutory appeal is appropriate. Accordingly, the Court
                                          17   VACATES the May 27, 2011, hearing and GRANTS defendants’ motion. Docket No. 2649 in 07-1827;
                                          18   Docket No. 91 in 09-5840.
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                                          20           IT IS SO ORDERED.
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                                          22   Dated: May 25, 2011
                                                                                                                   SUSAN ILLSTON
                                          23                                                                       United States District Judge
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